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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                       3:11cr112/LAC

STEVEN F. REAGAN,
           Defendant.
_________________________________________________________________

                     ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there has been no timely objections, and subject to this Court’s
consideration of the plea agreement pursuant to Fed.R.Crim.P. 11(e)(2), the plea of
guilty of the defendant, STEVEN F. REAGAN, to the four count indictment against
him is hereby ACCEPTED. All parties shall appear before this Court for sentencing
as directed.


      DONE AND ORDERED this 16th day of April, 2012.


                               s /L.A. Collier
                               LACEY A. COLLIER
                               SENIOR UNITED STATES DISTRICT JUDGE
